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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ([))

           This summons for (name of individual and title, ifany)      ~e_,lj 0~ 1~       j   LL l ~/ b/q ~ i\ \Yow &o\ J. rJJr'{\_
 was received by me on (date)            ~1-\_a_,(_(_\(~-----                1




           0 I personally served the summons on the individual at (place)
                                                                                  on (date)                              ; or
          ---------------------                                                               --------
           •     I left the summons at the individual's residence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who resides there,
          ---------------~
           on (date) _ _ _ _ _ _ _ , and mailed a copy to the individual's last known address; or

        ',._,_served the summons on (nam~ of individual)                   \Jo"'Y\.C\,    m~G~                                    , who is
            aes1gnated by law to accept service of process on behalf of (name of organization)                 ~llY\~(}"l)LlL                 cllb/°'-
               ;,e,\\ '-loll'/' 0- 0\ d, (.,(.':>Vf'\                             on (date)   i \q) I'i?   ') \ 0Qy,'1   ; or
           •     I returned the sununons unexecuted because
                                                                       -------------------
                                                                                                                                       ; or

           0 Other (specify):




           My fees are$                             for travel and $                  for services, for a total of$             0.00
                                                                       -----


           I declare under penalty of perjury that this information is true.


Date:




Additional information regarding attempted service, etc:
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                                                                                                                     Job# 2018003997
AFFIDAVIT OF PROCESS SERVER
Client Info:
LECLAIR, KORONA, COLE LLP
28 East Main Street, Suite 1500
Rochester, NY 14614


Case Info:
PLAINTIFF:                                                            Circuit Court
EXPRESS GOLD CASH, INC.
 -versus-
DEFENDANT:
BEYOND79, LLC D/B/A SELLYOURGOLD.COM                                  Court Case# 1:18-CV-837
Service Info:

Date Received: 8/9/2018 at 01:41 PM
Service: I Served BEYOND79, LLC D/B/A SELLYOURGOLD.COM C/0 R.A. CT CORPORATION SYSTEM
With: SUMMONS IN A CIVIL ACTION, COMPLAINT W/ EXHIBITS A THROUGH K
by leaving with Donna Moch, AUTHORIZED TO ACCEPT

At Business 1200 SOUTH PINE ISLAND ROAD PLANTATION, FL 33324
On 8/9/2018 at 03:10 PM
Manner of Service: CORPORATE
CORPORATE SERVICE: F.S. 48.081 (l)(a)(b)(c)(d), (2) or (3)




I Honory Kes certify that I am ve the age of 18, have no interest in the above action, and I am authorized in the jurisdiction in
which this service was made.

 Signature of Server: _ _ _ _+>.J..-------1--'.-------------
 Honory Kes
 1478

 Accurate Serve of Plantation
 151 North Nob Hill Road #254
 Plantation, FL 33324                                                             ~           .\25
 Our Job# 2018003997
                                                    9                     <J
 SUBSCRIBED AND SWORN to before me this _ _ _,____ day of _..cl:)=---- , ~ by Honory Kes, Proved to me
 on the       a s ti f ctory evidence to be the person(s) who appeared before me.




                                                                                             ,,,,..,.,,,,         JOSHUA M WRIGHT
                                                                                           ~•'t-.'l'-V "Ui/~
                                                                                         t?m~NOTARY PUBLIC·STATE OF FLORIDA
                                                                                         ~-ii:/                     COMM.# FF 957111
                                                                                           '•,f,,~:,/,~~~,,~   MY COMM. EXPIRES 02·03-2020




                                                                                                                                      1 of 1
